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                                                            UNITED STATES DISTRICT COURT
                                                                                               for the
                                                                                      District of Columbia




                                                         NO
                                      RUBY FREEMAN, et al.,
                                                Plain1ijf




                                                            T
                                                   V.                                                           Civil Action No. 21-cv-03354 (BAH)
                                       RUDOLPH W.GIULIANI



                                                                       A
                                               Defendan1




                                                                             CE
                           CLERK'S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

                                                                                     RT
                             I certify that the attached judgment is a copy of a judgment entered by this court on (dme) _ _1_2_/1_8_/2_0_2_3_ _
                  I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending before
                                                                                             IFI
                  this court and that no appeal has been filed or, if one was filed, that it is no longer pending.
                                                                                                 ED
                   Date:            08/05/2024
                                         ·---·-- --- -
                                                                                                                ANGELA D. CAESAR, CLERK OF COURT
                                                                                                              CO
                                                                                                                             Signature of Clerk or Deputy Clerk
                                                                                                                PY




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                                                     UNITED ST ATES DISTRICT COURT
                                                     FOR THE DISTRICT OF COLUMBIA




                                            NO
                         RUBY FREEMAN, et al.,



                                              TA
                                                 Plaintiffs,                 Civil Action No. 21-3354 (BAH)

                                                V.                           Judge Beryl A. Howell

                         RUDOLPH W. GIULIANI,             CE
                                                 Defendant.     RT
                                                                     IFI
                                                               FINAL JUDGMENT
                                                                         E
                                Upon consideration of the Joint Stipulation Regarding Entry of Final Judgment, ECF No.
                                                                             D
                        138, agreed to jointly by the parties, the entry of default judgment on liability against defendant
                                                                                  CO
                        Rudolph W. Giuliani on plaintiffs' well-pleaded claims for defamation, intentional infliction of
                                                                                     PY
                        emotional distress, and civil conspiracy to commit those torts, as a sanction for defendant's

                        sanctionable "willful shirking of his discovery obligations in anticipation of and during this

                        litigation," Freeman v. Giuliani, No. 21-cv-3354 (BAH), 2023 WL 5600316, at *2 (D.D.C. Aug.

                        30, 2023), pursuant to FEDERAL RULES OF CIVIL PROCEDURE 3 7( e)(2)(C) and 3 7(b)(2)(A)(vi); see

                        also Default Judgment Order, ECF No. 93, and the jmy verdict on the amount of damages owed

                        to plaintiffs by defendant, see ECF No. 135, it is hereby ORDERED, ADJUDGED, and

                        DECLARED as follows:

                            I. Plaintiffs Ruby Freeman and Wandrea' Moss shall recover from the defendant

                                Rudolph W. Giuliani damages in the amount of $145,969,000.00, plus postJ

                               _judgment interest at the rate of 5.0 I 01,, per annum, along with costs.

                            2. Plaintiffs Ruby Freeman and Wandrea' Moss shall recover from the defendant

                                Rudolph W. Giuliani attorney's fees as follows:




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                                    a. in the amount of S89, 172 .50, pursuant to this Court's Order dated August

                                         30, 2023, ECF No . 93, plus post-judgment interest accruing from July 25,



                                             NO
                                         2023, at the rate of 5.33% per annum;



                                               TA
                                    b. in the amount of $43,684, pursuant to this Court's Order dated August 30,

                                         2023, ECF No. 93 , plus post-judgment interest accruing from September

                                                           CE
                                         20, 2023, at the rate of 5.42% per annum; and

                                    c.   in the amount of$ I 04,256.50, pursuant to the Court's September 22, 2023
                                                                 RT
                                         Minute Order, plus post-judgment interest accruing from October 6, 2023,
                                                                      IFI
                                         at the rate of 5.46% per annum . E
                            3. It is hereby DECLARED pursuant to 28 U.S.C. § 220I(a), as between plaintiffs
                                                                                D
                                and defendant, as follows :
                                                                                  CO
                                    a. It is hereby DECLARED (I) that the Actionable Statements set forth in
                                                                                     PY
                                         the Amended Complaint, ECF No. 22, are false; (2) that those statements

                                         are defamatory and defamato,y per se; (3) that those statements were of

                                         and concerning plaintiffs; (4) that defendant made those statements with

                                         actual malice; (5) that defendant published those statements to third patties

                                         without privilege; and (6) that those statements caused plaintiffs harm;

                                    b. lt is further DECLARED (1) that defendant Giuliani engaged in extreme

                                         and outrageous conduct which (2) intentionally and maliciously (3) caused

                                         the plaintiffs to suffer severe emotional distress;

                                    c. It is further DECLARED (I) that defendant Giuliani entered into an

                                         agreement on or before December 3, 2020, with Donald J. Trump, Christina

                                         Bobb, Herring Networks, Jnc. , d/b/a OAN, Robe11 Herring, Charles



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                                        Hening, Chanel Rion, and members of the Trump 2020 Presidential

                                        Campaign, including members of the Trump Legal team headed by



                                            NO
                                        Giuliani, who caused statements to be published about                  plaintiffs or



                                              TA
                                        participated in such publications, (2) to participate in defamation of

                                        and intentional infliction of emotional distress on plaintiffs, and (3) that

                                                          CE
                                        plaintiffs were injured by unlawful ove11 acts performed by pa11ies to the

                                        agreement pursuant to, and in furtherance of, the common scheme .
                                                                RT
                                    d. It is fmther DECLARED that defendant's conduct was intentional,
                                                                     IFI
                                        malicious, wanton, and willful, such that plaintiffs are entitled to punitive
                                                                         E
                                        damages.
                                                                               D
                        SO ORDERED .
                                                                                  CO
                        Date: December 18, 2023
                                                                                     PY
                                                                                BERYL A. HOWELL
                                                                                United States District Judge



                                                                                                 ECf
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                                                                          I hereby attest and certify tt,at this Is a printed copy of a
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                                                                          States District and Bankruptcy Courts for the District of
                                                                          Columbia.        } ""'\ /           ""l - ,
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                                                        UNITED ST ATES DISTRICT COURT
                                                        FOR THE DISTRICT OF COLUMBIA




                                              NO
                         RUBY FREEMAN, et al.,



                                                        TA
                                                    Plaintiffs;                     Civil Action No. 21-3354 (BAH)

                                                   V.                               Judge Beryl A. Howell

                         RUDOLPH W. GIULIANI,                 CE
                                                    Defendant.      RT
                                                                       IF
                                                            MEMORANDUM AND ORDER
                                                                               IE
                                Following a jury trial on damages owed to plaintiffs Ruby Freeman and Wandrea' ArShay~
                                                                                  D
                        "Shaye" Moss that concluded on December 15, 2023, and this Court's entry of final judgment on
                                                                                        CO
                        December 18, 2023, see Final Judgment, ECF No. 142, plaintiffs now seek an order of dissolution

                        of the 30-day automatic stay for enforcement of judgment pending resolution of any appeal, under
                                                                                                PY

                        Federal Rule of Civil Procedure 62(a), and for permission to register their judgment immediately

                        in "any other district," pursuant to 28 U.S.C. § 1963. Pis.' Mot. to Dissolve Stay of Execution and
                                                                                                                             1
                        for Leave to Register Judgment in Any Other District ("Pis .' Mot."), ECF No. 139.                       Defendant

                        Rudolph W. Giuliani "does not contest that the final judgment can be registered in any other

                        district," Def.'s Resp. Pis.' Mot. ("Def.'s Opp'n") at I n.l, ECF No. 143, and opposes only the

                        part of plaintiffs' motion seeking to "abnmmally shorten[] or dissolve[]" the stay of execmion for

                        thirty days provided by Rule 62(a), id. In circumstances such as those presented by the record in

                        this case, there is nothing "abnonnal" about plaintiffs' request . To 1hc con1ra1y, as c.liscussed in

                        more detail below. plaintiffs' request to dissolve the otherwise automatic 30-c.lay stay of


                                 Plain1iffs · mo1ion :md accompanying a11achments in support of their motion arc docketed three times, at ECF
                        Nos . 139, 140, and 141 , but. to simplity cit:1tio11 . only plaintiffs ' motion docketed at ECF No . 139 i~ ci1cd.




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                        enforcement of the judgment is both appropriate and wananted. Plaintiffs' motion is therefore

                        granted for the reasons explained in more detail below.



                                            NO
                          1.    BACKGROUND



                                                  TA
                                On December 15, 2023, following the entry of default judgment against Giuliani on

                        liability for plaintiffs' three claims of defamation, intentional infliction of emotional distress, and


                                                          CE
                        civil conspiracy to commit those torts, see Default Judgment Decision, Freeman v. Giuliani, No;

                        21-cv-3354 (BAH), 2023 WL 5600316, at *26 (D.D.C. Aug. 30, 2023); Default Judgment Order;
                                                                RT
                        ECF No. 93, and after presentation of evidence and argument dming four days of trial on the
                                                                   IF
                        amount of compensatory and punitive damages owed by Giuliani to plaintiffs, an eight-member
                                                                         IE
                        jury returned a unanimous verdict, see Verdict Form, ECF No. 135. Based on the evidence
                                                                            D
                        presented of Giuliani's past and continuing-including up to and during trial-defamation of
                                                                                 CO
                        plaintiffs, and testimony by plaintiffs' damages expert, Dr. Ashlee Humphreys, regarding the.

                        monetary amount that would be necessary to counter and repair plaintiffs' reputation due to the
                                                                                       PY

                        false defamatory statements published and republished about plaintiffs by Giuliani and his co-

                        conspirators over the last three years, the jury returned a unanimous verdict, awarding: (1) as

                        compensato,y damages for defamation by Giuliani and his co-conspirators, $16,171,000 td

                        Freeman and $16,998,000 to Moss; (2) as compensatory damages for emotional distress inflicted

                        by Giuliani and his co-conspirators, $20,000,000 to each plaintiff; and (3) as punitive damages for

                        Giuliani's conduct, $75,000,000, to be divided between plaintiffs, for a total award of

                        $148,169,000. See Verdict Fo,m . The amount of compensatory damages for defamation awarded

                        by the jury was nearly SI 0,000,000 less than the amount requested by plaintiffs for reputational

                        harm , see Trial Tr., Morning Sess. at 73:8-10 (Dec. 14, 2023) (plaintiffs' counsel Michael J.

                        Gottlieb requesting "at least $24 million in rcputational damages for each plaintiff'); Joint Pretrial



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                        Submission ("JPTS'') at 14, ECF No. I 05 ("[P]laintiffs will seek a sum ranging from $15 .5 million

                        to $43 million [on plaintiffs' defamation claim]."), and less than the low-end of the damages range



                                            NO
                        identified by Dr. Humphreys, see Trial Tr., Morning Sess., at 137:23-138:4 (Dec. 13, 2023) (Dr.



                                                  TA
                        Humphreys testifying that a campaign "to repair this reputational harm" "would cost anywhere

                        from $17.8 million to $47.4 million"). Plaintiffs made no recommendation to the jury concerning

                                                          CE
                        the monetary amount of compensato1y damages for intentional infliction of emotional distress or

                        regarding punitive damages. See Trial Tr., Morning Sess. at 77:14-16 (Dec. 14, 2023) (plaintiffs'
                                                                RT
                        counsel Michael J. Gottlieb stating that "we're not providing you with a number to assign to
                                                                   IF
                        intentional infliction of emotional distress"). The punitive award of $75,000,000 was nearly
                                                                         IE
                        equivalent to the total compensato1y award of$73,169,000-i.e., well below the multiplier jurors
                                                                            D
                        had been instrncted was generally pennissible. See Jury Instructions at 10, ECF No. 137 ("Punitive
                                                                                 CO
                       damages that are more than ten times compensat01y damages are almost never permissible.

                        Usually, a permissible punitive damages award will not be more than four times compensatory
                                                                                       PY

                        damages.").

                               The parties' Joint Stipulation Regarding Entry of Final Judgment agreed to reduce the

                       compensat01y damages award by more than $2,000,000, as "resolution of any setoff claim

                       Defendant Giuliani may have arising from Plaintiffs' May 31, 2022 settlement agreement with the

                        other defendants in this litigation,'' reducing the total amount to$ I 45,969,000, plus post-judgment:

                        interest and costs. Joint Stip. Regarding Final Judgment at 1, ECF No. 138; id., Proposed Order

                        at 1, ECF No. 138-1 .

                                On December 18, 2023, this Court entered Final Judgment, adopting the pa11ies' Joint

                        Stipulation, and ordering Giuliani to pay plaintiffs $145,969,000 in compensat01y and punitive

                        damages, as reflected in the jury damages award, and to reimburse plaintiffs $237, 113 in attorney's



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                        fees, plus post-judgment interest, for plaintiffs' three successful discovery motions against

                        Giuliani, as ordered by this Com1 in July, August, and September 2023, with which orders Giuliani




                                                NO
                        has failed to comply. Final Judgment at 1-2. 2 Indeed, Giuliani has simply ignored the orders

                        directing reimbursement to plaintiffs of attorney's fees for discove1y misconduct, without seeking

                                                        TA
                        extensions of time to make reimbursement, requesting any payment schedules or making any


                                                                 CE
                        excuse for his nonpayment by the deadlines set in coui1 orders. 3

                                 Plaintiffs' instant motion for expedited consideration of their request for an order directing
                                                                        RT
                        dissolution of the automatic stay of execution of judgment under Federal Rule of Civil Procedure
                                                                           IF
                        62(a), and authority to register immediately their judgment in any other judicial district pursuant
                                                                                   IE
                        to 28 U.S.C. § 1963, may now be resolved, having heard Giuliani's opposition to the same.
                                                                                      D
                                                                                             CO
                                  In accordance with the parties' Joint Stipulation, see Joint Stip. Regarding Final Judgment at 2-3, the
                        following declaratory relief was also ordered with respect to plaintiffs' claims for defamation, intentional infliction of
                                                                                                     PY
                        emotional distress, and civil conspiracy, declaring that (I) "the Actionable Statements set forth in the Amended
                        Complaint, ECF No. 22, are false; that those statements are defamatory and defamatory per se ... and that those
                        statements caused plaintiffs hann"; (2) that "Giuliani engaged in extreme and outrageous conduct which intentionally
                        and maliciously caused the plaintiffs to suffer severe emotional distress .. ; (3) that "Giuliani entered into an agreement
                        on or before December 3, 2020 ... 10 participate in defamation of and in1entional infliction of emotional distress on
                        plaintiffs, and that plaintiffs were injured by unlawful overt acts performed by parties to the agreement," and (4) that
                        "defendant's conduct was imentional, malicious. wanton, and willful, such 1hat plaintiffs are entitled to punitive
                        damages,'' Final Judgment al 2-3.

                                   Specifically, Giuliani was directed ro reimburse plaintim attorney's fees in rhe amount of (I) $89, I 72.50,
                        for successfully litigating lheir Motion 10 Compel Discovery. sec ECF No. 44; (2) S43,684 for successli.tlly litigating
                        their Motion to Compel Discove1y from Giuliani's eponymous businesses, Giuliani Communications LLC and
                        Giuliani Partners LLC, see ECF No. 70 : :md (3) S104.256.50 for successfully li1igating their Motion for Sanctions,
                        see ECF No. 81, plus interest. Subsequent onkrs \\'ere issued. atier Giuliani was given ample opportunities to contest
                        any a11orney's fees requested. with deadlines for reimbursement payments, all of v.:hich deadlines have been entirely
                        ignored by Giuliani, who has not paid a dime. Sef! Minute Order (July 13. 2023) (directing Giuliani "by July 25, 2023.
                        to reimburse plaintiffs S89, 172.50 in attorneys· fees incurred in litigating their Motion to Compel Discovery;• ECF
                        No. -t4); Default Judgment Decision. 2023 WL 5600:; 16. ar •3 (ordering Giuliani. by September 20. 2023, to "ensure
                        the Giuliani Businesses reimburse plaintiffs' a11orneys kcs ~ssuciatcd wirh their successful motion to compd
                        disco,·e1y from the [Giuliani) Businesses. in rhc amount toraling S43.684 .. ) : Minute Order (Sept. 22, 2023) (directing
                        Giuliani. hy Ocrober 6. 2023. 10 "reimhmse plainril'fs SIU4.256.50 in a110111eys· fees incurred in the filing of
                        plain, iffs' Motion for Sunctions," ECF Nu. 81 ): see also /\111. JPTS al 19. ECF No. I 15 (joinrly stipulating that .. [,)he
                        Court . .. has ordered Defendant Giuliani to reimburse Plaintiffs for at leasr S237.113 in legal fees they incmTed in
                        liligating three discovery motions, wliit.:h he has 1101 ye1 paid ••).




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                         II.    DISCUSSION

                                Plaintiffs represent that dissolution of the automatic stay of judgment is necessary for




                                            NO
                        several reasons, including that Giuliani "has demonstrated an unwillingness to comply with

                        judicial process, including orders to pay attorney's fees and costs," and "appears to have no assets


                                                  TA
                        in the District of Columbia but substantial assets in-at least-both New York and Florida." Pis.'

                        Mot. at 1. Given that Giuliani his simply ignored several prior court orders to reimburse attorney's
                                                          CE
                        fees, plaintiffs posit that his conduct in this litigation presents "a substantial risk" that "Giuliani
                                                                RT
                        will find a way to dissipate those assets before Plaintiffs are able to recover," a concern
                                                                     IFI
                        compounded by the fact that "Giuliani is widely reported 10 have other, significant debts

                        threatening his personal solvency." Id.
                                                                          ED
                                Giuliani dismisses plaintiffs' reasons for expedition in trying to collect on their
                                                                                 CO
                        compensatory and punitive damage award, cheekily responding that "[i]f Giuliani had intentions

                        of absconding with or fraudulently transferring assets, he has had ample time to do it," and that
                                                                                   PY

                        plaintiffs "point to no evidence to demonstrate that what Giuliani could have done for years now,

                        he will do in the next 30 days." Def. 's Opp'n at 2. Giuliani's position thus appears to be that just

                        as he has shielded his true financial status from examination by refusing to comply with discovery

                        rules and court orders, he could have already effectively used that shield to hide his assets to avoid

                        paying plaintiffs' judgment against him. Notably, though he regularly speaks publicly about this

                        case, Giuliani has never denied that he has taken steps to hide his assets from judgment creditors,

                        and has offered no affirmative pledge that he will take no steps to do so, including in the next 30

                        days. Nevertheless, Giuliani urges 1ha1 "the Court should allow[] ample time-including the thirty

                        days under Fed. R. Civ. P. 62(a)-for [him] 10 file the appropriate motions in this Court and/or the

                        Cou11 of Appeals to stay enforcement of the judgment while this 'unusual' case is on appeal." Id.



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                        at 4. Giuliani's response is not persuasive. Instead, his reasoning only bolsters the concerns

                        animating plaintiffs' motion.




                                            NO
                                Federal Rule of Civil Procedure 62(a), as most recently amended in 2018 , provides that

                        "execution on a judgment and proceedings to enforce it are stayed for 30 days after its entry, unless

                                                  TA
                        the court orders otherwise." FED. R. Clv. P. 62(a) (emphasis supplied) . The "[a]mended Rule


                                                          CE
                        62(a) expressly .recognizes the cou11's authority to dissolve the automatic stay," including if there

                        is a ''risk that the judgment debtor's assets will be dissipated." FED. R. Civ. P. 62(a), Adv. Comm.
                                                                RT
                        Note to 2018 Amend.; see also Charles Alan Wright et al., 11 FED . PRAC . & PROC . Civ. § 2902 (3d
                                                                     IFI
                        ed. 2023) ("As explained in the Committee Note, the court might decide to dissolve the stay if
                                                                         E
                        there is a risk that the judgment debtor's assets will be dissipated[ .]"); 12 MOORE'S FEDERAL
                                                                               D
                        PRACTICE-CIVIL§ 62.02 (2023) (same).
                                                                                 CO
                                Courts have routinely exercised their discretion, codified in Rule 62(a), to dissolve the 30-

                        day automatic stay as a means of precluding the judgment debtor from taking advantage of the
                                                                                    PY

                        standard "thi11y-day window to conceal and dissipate [their] assets."                  Mattel, Inc. v.

                        wwwfishe,priceonline, No. 21-cv-9608 (LJL), 2022 WL 2801022, at *15 (S.D.N.Y. July 18,

                        2022); see also McGraw Hill LLC v. Doe I, No. 20-cv-0356 (LJL), 2022 WL 2979721, at *3, *8

                        (S .D .N .Y. July 26, 2022) (following default judgment on plaintiffs' copyright and trademark

                        claims against non-appearing defendants, "grant[ing) Plaintiffs ' request to dissolve the automatic

                        stay" and "allow for the immediate enforcement of judgment pursuant to Federal Rule of Civil

                        Procedure 62(a)"); Mattel. Inc. v. Arming, No. 18-cv-8824 (LAP), 2021 WL 3683871, at *9

                        (S.D .N .Y. Aug. 18 , 2021) ("dissolv[ing] the automatic stay imposed by Rule 62 and allow[ing] for

                        the immediate enforcement of the judgment"); Allstm· Mktg. G,p., LLC v. AFACAI, No. 20-cv-

                        8406 (JPC), 2021 WL 2555636, at *8 (S.D .N .Y. June 22, 2021) (explaining the Cornt's "power to



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                        order the execution of a judgment to occur before the close of th[ e] 30-day window" under Rule

                        62(a), and "dissolv[ing] the automatic 30-day stay" (citation omitted)); Spin Master Ltd. v. J58;




                                                NO
                        463 F. Supp. 3d 348, 385 (S.D.N.Y. 2020), adhered to in part on reconsideration, No. 18-cv-1774

                        (LJL), 2020 WL 5350541 (S.D.N .Y. Sept. 4, 2020) ("reliev[ing] Plaintiffs of the 30-day stay'i

                                                        TA
                        where plaintiffs contend that such automatic stay "create[s] a 30-day window for Defaulting

                        Defendants ... to transfer, dispose of, or otherwise hide assets that may be necessa,y to suppo11

                        the judgment"). 4
                                                                 CE
                                                                        RT
                                 Here, several considerations make clear the 1isk that Giuliani may attempt to "conceal and
                                                                           IF
                        dissipate [his] assets" during the thirty-day period provided by Rule 62(a), ww1i:fisherpriceonli11e,
                                                                                    IE
                        2022 WL 280 l 022, at * 15, justifying this Court's exercise of discretion to order immediate
                                                                                       D
                        dissolution of the automatic stay.
                                                                                             CO
                                                                                                     PY

                                   Giuliani at1emp1s 10 dis1inguish cenain cases cited by plainliffs as " inapposi1e" because they "involve(ed] a
                        pre-judgment freezing of assets under New York law" and "[t]here was no pre-judgment asset freeze in this case[.]"
                        Def. 's Opp'n at 2 & n.2 (citing www/isherpriceonline, 2022 WL 2801022 : Arming, 2021 WL 3683871; Al/star Mktg.
                         G,p .. LLC. 2021 WL 2555636; Malle/, inc. v. 1622758984, No. 18-cv-8821 (AJN), 2020 WL 2832812 (S.D.N.Y.
                        May 31 , 2020)). This is an incorrect reading oflhese cases. Each of these courts recognized , without qualifica1ion or
                         limitalion 10 lhe prejudgmenl asset restrain! conlexl, their express authority under Rule 62(.i) 10 dissipate the 30-day
                        slay and allow immediale enforcement of judgment 10 avert lhe same concerns raised here regarding the risk of
                        concealmenl or dissipa1ion of assets. See wwwjisher-price.011/i11e, 2022 WL 280 I 022 , at *IS ("'Plaintiff requests a
                        continuance of the pre-judgment asset restraint because the au1oma1ic slay and absence of interim asset restraint
                        provide Defcndanl a lhirty-day window 10 conceal and dissipale i1s assels .... The Courl may address lhese concerns
                        by ordering immediate enforcement of the judgment pursuant 10 Federal Rule of Civil Procedure 62(a)." (citations
                        omilled)) : Arming, 2021 WL 3683871, al •9 (same): Al/star Mktg. G,p., LLC. 2021 WL 2555636, al *8 (.iddressing
                        plain1itrs concern tha1 the Rule 62 automatic stay will "giv[e) the Defaulting Defcm.lanls 1ime 10 conceal their assets,"
                        and "dissolv[ing] the amoma1ic 30-day stay imposed by Rule 62 to allow for immediate enforcement of 1he
                        judgmen1··); 1621758984. 2020 WL 2832812. at •7 ("Plaintiff assens tha1 , in ligh1 of 1his a1110111a1ic slay and in the
                        absence of an interim asset freeze, defaulting Defendants would have a 30-day window 10 conceal or dissipate their
                        asse1s. Plain1iffs concerns m.iy be addressed by allowing for immedia1e enforeemenl of 1he juclg111e111 in 1his case.
                        whic:h Ruk 62 cxplici1ly grants 1his Court au1hori1y 10 order.'· (ciling FL:D. R . C1v. P. 62(a) . l\dv . Comm . Nole lo 201 S
                        Amend .)). As 01hcr au1hori1ies make plain, Rule 62(a)"s express gran1 of discrc1ion 10 dissoh-c 1he 30-day au1oma1ic
                        slay is 1101 limi1ed 10 the prejudgmelll asse1 restrain! contex1. See. e.g . /1.kGrm, · !!ii/ lJC. 2022 WL 2979721. al *4-
                        8 (""allow[ing] il)r 1hc i111media1e e11forceme111 of judgmen1 pursuan1 10 Federal Rulo: of Civil Procedure 62(a)"
                         following award of stallllory damages on plaintiffs' claims for copyrigh1 infringemcn1 and trademark cot111lerfei1ing);
                        .m:' alsn Charles Alan Wriglll e1 al.. 11 FED. PRAC. & PROC. CIV . § 2902 (3d ed. 2023) (""As explained in 1he Commillee
                        Note, 1hc cour1 might decide 10 dissolve 1hc s1ay if 1hcn: is a risk 1hat 1hc judgmcnl dcblm ·s asse1s will be dissipaled."):
                         11 MOORE'S FfDl:RAI. PRACTICE - CIVIi. 61 .02 (2023) (same).

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                                First, as plaintiffs correctly explain, Giuliani has "proven himself to be an unwilling and

                        uncooperative litigant," Pis.' Mot. at 3, whose repeated failures to comply with "basic preservation



                                            NO
                        and production duties ... necessitat[ed] the entry of default judgment against [him] on liability as



                                                  TA
                        a discovery sanction," Mem. Op. & Order Denying Def.'s Obj. Jury Trial, Freeman v. Giuliani;

                        No. 21-3354 (BAH), 2023 WL 8360664, at *2 (D.D.C. Dec. 3, 2023) (citing Default Judgment

                                                          CE
                        Decision, 2023 WL 56003 l 6, at *3-12, 26). Giuliani cannot and does not dispute that he has

                        continued to disregard the Court's orders directing payment of plaintiffs' attorney's fees and costs
                                                                RT
                        in connection with plaintiffs' successful discovery motions. See Am. JPTS at 19, ECF No. 115
                                                                   IF
                        (jointly stipulating that "[t]he Court .. . has ordered Defendant Giuliani to reimburse Plaintiffs for
                                                                         IE
                        at least $237,113 in legal fees they incuned in Ii ti gating three discovery motions, which he has not
                                                                            D
                        yet paid"); see also Default Judgment Order at 3 ( directing entry of default judgment and ordering
                                                                                 CO
                        sanctions for "defendant's failure timely to reimburse plaintiffs' $89,172.50 in attomeys' fees" for

                        plaintiffs' Motion to Compel Discovery, ECF No. 44); id. (directing Giuliani to "ensure that the
                                                                                       PY

                        Giuliani Businesses reimburse plaintiffs' attorneys fees associated with their successful motion to

                        compel discovery from those Businesses . . . in the amount totaling $43,684"); Minute Order

                        (Sept. 22, 2023) (directing Giuliani "to reimburse plaintiffs $104,256.50 in attorneys' fees incuned

                        in the filing of plaintiffs' [] Motion for Sanctions,'' ECF No. 81 "). Giuliani 's failure to "satisfy

                        even more modest monetary awards entered earlier in this case,'' Pis.' Mot. at 4 n.2, provides good

                        cause to believe that he will seek to dissipate or conceal his assets during the 30-day period

                        contemplated by Rule 62(a).

                                Second, as plaintiffs submit and as Giuliani does not contest, "Giuliani has numerous and

                        mounting debts, including to his own a11orneys and other litigants seeking to reduce their claims

                        to judgment." Pis.' Mot. at 3. Plaintiffs attach two such complaints against Giuliani to their



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                        motion, including a creditor action brought by Giuliani 's counsel in criminal matters, Robert

                        Costello, seeking "payment of an outstanding bill for legal services . .. in the amount of



                                            NO
                        $1,360,196.1 0." Pis.' Mot., Deel. of Michael J. Gottlieb ("Gottlieb Deel."), Ex. 1, Complaint~ 1,



                                                  TA
                        David~[! Hutcher & Citron LLP et al. v. Giuliani, No. 654558/2023, ECF No. J (N.Y. Sup. Ct.

                        Sept. 18, 2023); see also Pis.' Mot., Gottlieb Deel., Ex. 2, Complaint, Biden v. Giuliani et al.. No.


                                                          CE
                        23-cv-8032, ECF No. I (C.D. Cal. Sept. 26, 2023) (complaint brought by Robert Hunter Biden

                        against Giuliani, Giuliani businesses, and others, seeking damages, injunctive relief, and equitable
                                                                RT
                        relief). These potentially competing claims to Giuliani 's assets raise the risk that Giuliani has even
                                                                   IF
                        greater motivation to hide his financial assets from potential future judgments against him.
                                                                         IE
                                Giuliani feebly counters concerns about him hiding assets, stating that "there is no evidence
                                                                            D
                        in the record of any attempt by [him] to dissipate assets." Def.'s Opp'n at 2. This statement simply
                                                                                 CO
                        ignores the ample record in this case of Giuliani 's effo1ts to conceal or hide his assets by failing to

                        comply with discovery requests, including "plaintiffs' requests for financial information." Default
                                                                                        PY

                        Judgment Decision, 2023 WL 5600316, at *22. This precise discovery misconduct triggered the

                        Court's imposition of sanctions in the form ofnot only default judgment on liability, but also more

                        stringent adverse inference instructions to the ju1y than would have been given had Giuliani

                        complied with discove1y requests for financial records. See id. at *23 (ordering, "as a sanction for

                        failing to comply with ... the [Court's] Orders, the jmy will be instructed that they must, when

                        determining an appropriate sum of punitive damages, infer that Giuliani is intentionally trying to

                        hide relevant discove1y about his financial assets for the purpose of artificially deflating his net

                        worth '" (emphasis in original) (citation omitted)); Additional Sanctions Order. Freeman v.

                        Giuliani. No. 21-cv-3354 (BAH), 2023 WL 8360653, at *2 (D.D.C. Oct. 13, 2023) (ordering four

                        additional adverse inferences on which the "jury [would] be instructed ... when determining an



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                        appropriate sum of compensatory, presumed, and punitive damages" as a sanction for Giuliani's

                        failure to comply with plaintiffs' document requests for Giuliani's financial-related infonnation




                                                NO
                        and records, as required in the Default Judgment Decision and Order). 5

                                 Nowhere in opposition does Giuliani promise not to hide assets from plaintiffs. Nor does

                                                       TA
                        he contend, let alone demonstrate with documentary or other proof, that he would be unable to

                        satisfy the judgment, in whole or in patt. See generally Def. 's Opp'n. To be sure, Giuliani's
                                                                CE
                        counsel argued to the jury at the damages trial that plaintiffs' requested damages award would
                                                                       RT
                        amount to "the civil equivalent of the death penalty, because if [jurors] award the amount of
                                                                              IFI
                        damages they're asking for, it will be the end of Mr. Giuliani," Trial Tr., Afternoon Sess ., at 59:5-

                        9 (Dec. 11, 2023), and Giuliani has made similar representations during this litigation that
                                                                                  E       D
                        "financial difficulties" hampered his ability to immediately pay plaintiffs' attorney's fees ordered
                                                                                            CO
                        by this Couit, Default Judgment Decision, 2023 WL 5600316, at *23 (citation omitted). Yet,

                        Giuliani's persistent refusal to respond to plaintiffs' discovery requests precluded plaintiffs from
                                                                                               PY

                        testing the veracity of Giuliani's claimed "financial difficulties," and this Couit's ability to

                        evaluate his resources to satisfy judgment such that then, as now, "Giuliani has failed to show that

                        he cannot pay the [amount] he owes." Id. Such claims of Giuliani 's "financial difficultics"-no

                        matter how many times repeated or publicly disseminated and duly reported in the media-are

                        difficult to square with the fact that Giuliani affords a spokesperson, who accompanied him daily

                        to trial, see Trial Tr., Morning Sess., at 19: 16-19 (Dec. I 3, 2023) (plaintiffs' counsel Michael JJ

                        Gottlieb referencing "Giuliani and his spokesperson, who [he] believe[s] is sitting in the comt




                                  Giuliani sugges1s 1ha1 plaintiffs' request for dissolution of 1he 30-day s1ay of enfon:cmen1 should be gran1ed
                        ·•only on condi1io11 1ha1 security be pos1ed by the judgment creditor." Def. ' s Opp'n at 3 (quo1ing FED. R. Crv. P . 62(a).
                        AJv . Comm. Nole to 2018 Amend.). but tha1 '"[p]lain1iffs make no suc:h offer of bond or sci:uri1y in 1heir Mo1ion." id.
                        The bond condi1ion suggested in 1he advisory no1es is plainly disc:re1ionary, and Giuliani ci1cs no au1hori1y- indeeJ
                        1his Cour1 is aware of none--expressly condi1ioning dissohuion of the 30-day slay on the credi1or's pllSling of security.

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                        today, Mr. [Ted] Goodman"); see also Alison D11rkee, Giuliani Must Pay $148 Millio11 In

                        Damages      For    Defaming      Georgia     Electio11   Workers,    Forbes     (Dec.    15,   2023),




                                            NO
                        https ://www.forbes .com/sites/alisondurkee/2023/ 12/ 15/giuliani-must-pay-148-million-in-




                                                  TA
                        damages-for-defaming-georgia-election-workers/?sh=4 I b200c4606f               (noting     "Giuliani's

                        spokesperson Ted Goodman ha[ d] not yet responded to a request for comment" following


                                                          CE
                        conclusion of trial on December 15, 2023), and plaintiffs' counsel's submission, based on

                        "report(s] in the press and confomed by (p]laintiffs' initial investigation," Pis.' Mot. at 5, and
                                                                RT
                        uncontested by Giuliani, see genera/~y Def. 's Opp'n, that "Giuliani . . . does have significant assets
                                                                   IF
                        in other jurisdictions, including residential prope11ies located in the Southern District of New York
                                                                         IE
                        and the Southern District of Florida," and "numerous accounts at financial institutions located in
                                                                            D
                        New York," Pis.' Mot., Gottlieb Deel.~~ 3-4; see also Pis.' Mot . at 5.
                                                                                  CO
                                Finally, Giuliani contends that "if the Comt allows immediate execution of the final

                        judgment, then Giuliani will have no chance to have the damages award reduced on remittitur or
                                                                                       PY

                        even seek a stay from the D.C. Circuit," which "will be presented with [issues]-some of them

                        novel-that create a stronger likelihood that the final judgment may be, at minimum, altered in

                        some way on appeal." Def.'s Opp'n at 3-4. While not pre-judging any remittitur arguments that

                        may be made by Giuliani, the obvious fact that the j ury's unanimous awards were conservative as

                        to the plaintiffs' requested compensation for reputational harm due to Giuliani's defamation per

                        se, based on the expert's calculation of the cost of repairing their reputations, and the jury's

                        punitive damages award was nearly equivalent to compensato1y damages, rather than multiplied

                        by up to four times compensatory damages, reduction of the award on remittitur faces some

                        challenges . Moreover. should this case be appealed, Giuliani can avoid any claimed prejudice and

                        obtain a stay of enforcement "at any time by posting a full superscdeas bond pursuant to Federal



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                        Rule of Procedure 62(b)." Pis .· Mot. at 4 n.2; see FED. R. Clv. P. 62(b) ("At any time after

                        judgment is entered, a pa1ty may obtain a stay by providing a bond or other security ."). Given that




                                            NO
                        "the stay operates for the appellant's benefit and deprives the appellee of the immediate benefits

                        of his judgment, a full supersedeas bond should be the requirement in normal circumstances(.]"

                                                  TA
                        Fed. Prescription Sen 1. , Inc. v. Am. Pharm. Ass 'n, 636 F.2d 755, 760 (D.C. Cir. 1980). "Although


                                                          CE
                        the cou11 has discretion to depa,t from the usual requirement of a supersedeas bond for the full

                        amount of judgment, the burden is 'on the moving party to objectively demonstrate the reasons for
                                                                RT
                        such a departure."' Howard Town Ctr. Dev., LLC v. Howard Univ., 288 F. Supp. 3d 11, 13 (D.D.CJ
                                                                   IF
                        2017) (citation omit1ed). Thus, to obtain a stay of enforcement of the judgment pending any appeal
                                                                           IE
                        beyond the 30-days of the automatic stay, Giuliani would have to comply with the usual
                                                                              D
                        requirement of a full supersedeas bond or demonsu·ate why that requirement should not apply-a
                                                                                 CO
                        showing difficult to make when there is more than "reasonable likelihood of the judgment debtor's

                        inability or unwillingness to satisfy the judgment in full upon ultimate disposition of the case."
                                                                                       PY

                        Fed. Prescription Serv., liic., 636 F.2d at 760.

                        III. CONCLUSION AND ORDER

                                For the reasons set fo11h above, it is hereby

                                ORDERED that plaintiffs' Motion to Dissolve Stay of Execution and for Leave to Register

                        Judgment in Any Other District, ECF No. 139, is GRANTED; it is further

                                ORDERED that the stay of execution of the final judgment entered on December I 8, 2023.

                        and of proceedings to enforce it, provided under Federal Rule of Civil Procedure 62(a), is

                        DISSOL YEO, effective immediately ; it is fmther




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                                ORDERED that, pursuant to 28 U.S.C. § 1963, plaintiffs are authorized to register

                        immediately the final judgment entered on December 18, 2023, in any other district of the United




                                             NO
                        States; and it is further

                                ORDERED that the Clerk of Court is directed to issue plaintiffs a completed and signed


                                                    TA
                        Fo1m AO45 I, together with a copy of the final judgment entered on December 18, 2023, and a

                        copy of this Memorandum and Order.

                        SO ORDERED.
                                                          CE
                        Date: December 20, 2023
                                                                RT
                                                                   IF    IE     BERYL A. HOWELL
                                                                            D   United States District Judge



                                                                                            ECF
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         The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provide
         by local rules ot' coun. This fonn, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk ofCoun for the purpose of mitiatin
         the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
          I. (a)       PLAINTIFFS                                                                                                      DEFENDANTS
                                             Ruby Freeman and Wandrea' Moss                                                                                     Rudolph W. Giuliani

              (b)     County of Residence offirst Listed Plaintiff DeKalb, GA                                                         County of Residence of First Listed Defendant New York, NY
                                            (EXCEPT IN US. P!.AINTIFFCASES)                                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                      NOTE:                     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                THE TRACT OF LAND INVOLVED.




                                                                     NO
              ( C)    Anomeys (Firm Name, Address. and Telephone Number)                                                               Attorneys (If Known)

               David A. Blansky, Dunn Law, PA, 66 West Flagler St., Suite 400,
               Miami, Florida 33 130, + I (786) 534-3669


                                                                               TA
          (d) Check County Where Action Arose: O MIAMI- DADE O MONROE BROWARD D PALM BEACH D MARTIN DST LUCIE D rNDIAN RIVER D OKEECHOBEE                                                                   HIGHLANDS


          II. BASIS OF JURISDICTION                                 (Place an "X" in One Box Only)                    Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an ''X" tnOneBoxforPlatnti.ff)
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          0 2
                       Plaintiff


                     U.S. Go,·emment               04             Diversity
                                                                                             CE
                                                                 (U.S. Governmenl Not a Party)                        D     Citizen of This State


                                                                                                                      D Citizen of Another State
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                       Defendant                                                                       RT
                                                                 (Indicate Citi=enship of Parties in Item Ill)

                                                                                                                            Citizen or Subjecl of a
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          0 120 Marine                    0 3 IO Airplane                              0 365 Personal Injury •                       of Property 21 USC 881     0 423 Withdrawal                        0 376 Qui Tam (31 USC 3729(a·
            130 Miller Acl                0 3 I 5 Airplane Product                              Product Liability           D 690 Other                                   28 USC 157                       400 State Reapportionment
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                & Enforcement of Judgment         Slander                                         Personal Injury                                               0 820 Copyrights                        0 450 Commerce
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              (Exel. Ve1erans)                   0 340 Marine                                                                                                   0 880 Defend Trade Secrets                    (15 USC I681 or 1692)
                                                                                                                                                                        Act _of20I6
          0 153 Recovery of Overpayment          0 34S Marine Produc1                                                                                                   SOCIAL SECURITY             ! 0 485 Telephone Consumer
                                                                                                                                                PY
                                                                                                             [    _      ~BC)R _                                                                 __ J      Protection Act (TCPA)
              of Veleran 's Benefits                          Liability                    PERSONAL PROPERTY 0 710 Fair Labor Standards Acts -0- 861 HIA (1395fl)                                       0 490 Cable/Sat TV
          0 160 Stoekholders Suits               0 350 Molor Vehicle                   0 370 Other Fraud                    0 720 Labor/Mgmt . Relalions        0 862 Black Lung (923)                  0 850 Securities/Commodi1ies/
          D 190 Other Contract                   0 355 Motor Vehicle                   0 371 Truth in Lending               0 740 Railway Labor Act             0 863 DIWC/DIWW (405(g))                   Exchange
          0 195 Contract Produc1 Liabili1y             Product Liability               0 380 Other Personal                   751 Family and Medical            0 864 SSID Title XVI                    0 890 Other S1atutory Actions
          0 I 96 Franchise                       0 360 Other Personal                       Property Damage                       Leave Acl                     O 865 RSI (405(g))                      0 89I Agricultural Acts
                                                       Injury                          0 385 Property Damage                0 790 Other Labor Litigation                                                0 893 Environmental Matters
                                                 0 362 Personal ~,jury -                    Product Liability               D 791 Employee Retirement                                                895 Freedom of Information A,
                                                       Med. Malpractice                                                          Income Security Act                                                 896 Arbitration
                     REAL PROPEl_lTV _ _              CIVIL RIGHTS                    - PRISONER ~E'JH_!_ON~--              I                                   L   FEDERAL TAX SUITS            J 0 899 Administrative Procedure
                                                                                                                                                                    870 Taxes (U.S. Plaintiff ·or    Act/Review or Appeal of
          0 210 Land Condemnation                0 440 01her Civil Rights                 Habeas Corpus :                                                         0 Defendant)                       Agency Decision
                                                                                                                                                                    mJRS-Third Pany 26 USC O         950  Constitutionality of
          0 220 Foreclosure                      0 441 Voting                          0 463 Alien Detainee                                                                                          Stale Statules
          0 230 Renl Lease & Ejectment           0 442 Employmenl                      O §~~te~~tions to Vacate
          0 240 Torts 10 Land                    O !.~!:i~s~d~!ions           0 530 General
          D 245 Tort Product Liability           0 445 Amer. w/Disabilitics • D 535 Death Penalty                           [ _.     IMl\fiC::~'_tlQ~- __ ,
          0 290 All Other Real Property                 Employmenl                 Other:                      0 462 Naturalization Application
                                                  0 446 Amer. w/Disabiiities • 0 540 Mandamus & Other 0 465 Other Immigration
                                                        Other                   0  550  Civil Rights                  Actions
                                                  0 448 Education               0 555 Prison Condition
                                                                                   560 Ci,11 Detainee -
                                                                                0 Conditions of
                                                                                   Confinement
          V. ORIGIN                     (/'lace an "X" in One Box Only)
          O I        Original      0   2 Removed 0 3 Re-filed o                Reinslated !iii 5 Transferred from
                                                                                                     another district
                                                                                                                           0 6 Multidis1ric1                        0   7 Appeal to
                                                                                                                                                                                              0 8 Multi district D 9 Remanded from
                     Proceeding           from Stale
                                          Court
                                                            (See VI
                                                            below)
                                                                               or
                                                                               Reopened              (specify)                 %=~:}~~n                                   District Judge
                                                                                                                                                                          from Magistrate
                                                                                                                                                                                                   :'t'fif:~~~             Appellale Court
                                                                                                                                                                          Jud enl                   File

          VI. RELATED/                                   (See instructions): a) Re-filed Case           DYES          D NO             b) Related Cases       DYES         NO
          RE-FILED CASE(S)                                                     JUDGE:                                                                                     DOCKET NUMBER:
                                                         Cite the U .S . Civil Statute under which you arc filing and Write a Brief Statement of Cause (Do 11ot ci1ejurisdicrio11al statutes unless div~rsity):
          VII. CAUSE OF ACTION 28 USC 1963, Registration of Foreign Judgment from the United States District Court for the District of Columbia
                                  LENGTH OF TRIAL via       davs estimated (for both sides to trv entire case)
          VIII. REQUESTED IN                              0     CHECK IF THIS IS A CLASS ACTION
                                                                                                                                DEMANDS                                       CHECK YES only if demanded in complaint:
               COMPLAINT:                                       UNDER F.R.C.P. 23
                                                                                                                                                                          JURY DEMAND:                     O Yes        iii No

          ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY Ki'\:OWLEDGE
          DATE                                                                                     SIGNATURE OF ATTORNEY OF RECORD

           August 5, 2024                                                       s/ David Blansky
          FOR OFFICE USE ONLY: RECEIPT#                                        AMOUNT                                 IFP                   JUDGE                               MAG JUDGE




https://erec.mypalmbeachclerk.com/search/index?theme=.blue&section=searchCriteriaName&quickSearchSelection=#                                                                                                                        18/19
8/8/24, 2:09 PM       Case 1:24-cv-06563-LJL                         Document  1-4
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                                                                                  Web Official   08/30/24
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                                                                                                                                              CFN 20240274766
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           1s44 ( R G ~     m:~me-t2i2:9i7:9-KMM Document 1-1 Entered on FLSD Docket 08/05/20l4= 1 P>~ 2 of 2
                              INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                                           Authority For Civil Cover Sheet
              The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
           by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the
           use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil
           complaint filed. The attorney filing a case should complete the form as follows:
           I.      (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use




                                                    NO
           only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official.
           giving both name and title.
                   (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the



                                                            TA
           time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnatior
           cases. the county of residence of the "defendant" is the location of the tract of land involved.)
                     (c) Attorneys. Enter the firm name. address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, notin~
            in this section "(see attachment)".
             II.
                                                                     CE
                    Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an "X" ir
            one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
            United States plaintiff. (I) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
            United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
                                                                             RT
            Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to tht
            Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, anc
            box I or 2 should be marked. Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box~
                                                                                IF
            is checked. the citizenship of the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)

            III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark thi:
                                                                                        IE
            section for each principal party.
            IV.     Nature of Suit. Nature of Suit. Place an "X" in the appropriate box. If there arc multiple nature of suit codes associated with the case, pick the nature o
                                                                                           D
            suit code that is most applicable. Click here for: Nature of Suit Code Descriptions.
            V.      Origin. Place an "X" in one of the seven boxes.
                                                                                                    CO
            Original Proceedings. (I) Cases which originate in the United States district courts.
            Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petitior
            for removal is granted. check this box.
                                                                                                           PY
            Refiled (3) Attach copy of Order for Dismissal of Previous case. Also complete VI.
            Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
            Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistric
            litigation transfers.
            Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When thi
            box is checked, do not check (5) above.
            Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge's decision.
            Remanded from Appellate Court. (8) Check this box if remanded from Appellate Court.
            VI.    Related/Refiled Cases. This section of the JS 44 is used to reference related pending cases or re-filed cases. Insert the docket numbers and the
            corresponding judges name for such cases.

            VII.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictiona
            statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553
                                       Brief Description: Unauthorized reception of cable service
            VIII. Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
            Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
            Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.


            Date and Attorney Signature. Date and sign the civil cover sheet.




https://erec.mypalmbeachclerk.com/search/index?theme=.blue&section=searchCriteriaName&quickSearchSelection=#                                                                19/19
8/8/24, 2:10 PM     Case 1:24-cv-06563-LJL                Document  1-4
                                                              Landmark      Filed
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                                                                                                                RECORDED 8/8/2024 1:00 PM
                                                                                                                Palm Beach County, Florida
                                                                                                                Joseph Abruzzo, Clerk
                                                                                                                Pgs: 838 - 838; ( I pgs)

                                 AFFIDAVIT OF JUDGMENT CREDITORS' CURRENT ADDRESS
                                                Pursuant to Fla Stat. § 55.10

                          BEFORE ME, the undersigned authority, on this day personally appeared David A.
                   Blansky, who, being duly sworn, upon his oath deposed and stated as follows:



                                            NO
                            1.      My name is David A. Blansky. I am over the age of 18 years.



                                                  TA
                            2.      I am counsel for Judgment Creditors Ruby Freeman and Wandrea' Moss.

                           3.      In the case of Ruby Freeman et al. v. Rudolph W. Giuliani, Case No. 1:21-cv-3354,

                                                          CE
                   in the United States District Court for the District of Columbia, a Judgment was entered in favor
                   of Plaintiffs Ruby Freeman and Wandrea' Moss and against Defendant Rudolph W. Giuliani, on
                   December 18, 2023 as follows: $145,969,000.00 in damages (plus post-judgment interest at 5.01 %
                                                                RT
                   per annum); attorney's fees in the amount of$89,l 72.50 (plus post-judgment interest at 5.33% per
                   annum from July 25, 2023); attorney's fees in the amount of $43,684.00 (plus post-judgment
                                                                   IF
                   interest at 5.42% per annum from September 20, 2023); and attorney's fees in the amount of
                   $104,256.50 •(plus post-judgment interest at 5.46% per annum from October 6, 2023). The
                                                                         IE
                   Judgment was registered in the United States District Court for the Southern District of Florida ori
                   August 5, 2024 with Case No. 1:24..mc-22979. A certified copy of the Judgment, so registered, is
                                                                            D
                   recorded with this Affidavit.
                                                                                 CO
                           4.       Ruby Freeman's current address is 4325 151 Ave., Unit 2372, Tucker, GA 30084.

                           5.    Wandrea' Moss's current address is 1075 Peachtree Street, Suite 6, #570007, .
                                                                                        PY
                   Atlanta, GA 30357.

                           FURTHER AFFIANT SAYETH NAUG


                                                                        David A. Blansky
                                                                        Florida Bar No. 1033002
                   STATE OF FLORIDA
                   COUNTY OF MIAMI-DADE

                   Sworn to and subscribed before me by means of [X'.J physical presence or [ ] online notarization,
                   this~ day of August, 2024, by David A. Blansky.




                                                                           Print, type, or stamp commissioned name of
                                                                         . Notary Public

                  • .;)(_ Personally Known OR ___ Produced Identification
                    Type of Identification Produced _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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